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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1439V
                                      Filed: June 23, 2016
                                         UNPUBLISHED

****************************
SANDRA MALONE,                          *
                                        *
                    Petitioner,         *     Damages Decision Based on Proffer;
v.                                      *     Influenza;
                                        *     Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                     *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Anne Carrion Toale, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Christine Becer, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On December 1, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury following
administration of her October 22, 2014, influenza vaccination. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On February 18, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for her shoulder injury. On June 23, 2016, respondent filed a
proffer on award of compensation (“Proffer”) indicating petitioner should be awarded
$102,501.29. Proffer at 1. In the Proffer, respondent represented that petitioner agrees
with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $102,501.29 in the form of a check payable to
petitioner, Sandra Malone. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
SANDRA MALONE,                       )
                                     )
            Petitioner,              )
                                    )   No. 15-1439V
      v.                            )   Chief Special Master Dorsey
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$102,501.29 which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $102,501.29 in the form of a check payable to petitioner.

Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.




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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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                                   Respectfully submitted,

                                   BENJAMIN C. MIZER
                                   Principal Deputy Assistant Attorney General

                                   RUPA BHATTACHARYYA
                                   Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Acting Deputy Director
                                   Torts Branch, Civil Division

                                   GLENN A. MACLEOD
                                   Senior Trial Counsel
                                   Torts Branch, Civil Division


                                     s/Christine Mary Becer
                                   CHRISTINE MARY BECER
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Date:    June 23, 2016




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